         Case 1:16-cv-04375-AKH Document 88
                                         87 Filed 01/12/21 Page 1 of 2

                      MILMAN LABUDA LAW GROUP PLLC
                                      3000 MARCUS AVENUE
                                            SUITE 3W8
                                     LAKE SUCCESS, NY 11042
                                             _________

                                    TELEPHONE (516) 328-8899
                                    FACSIMILE (516) 328-0082
                                                                             January 12, 2021
VIA ECF
United States District Court                                        So ordered,
Southern District of New York
Attn: Hon. Alvin K. Hellerstein, U.S.D.J.                           /s/ Hon. Alvin K. Hellerstein
500 Pearl Street, Room 1050                                         Jan. 12, 2021
New York, NY 10007-1312

       Re:     Perez, et al. v. Super Gourmet Food Corp., et al.
               Civil Case No.: 1:16-cv-4375 (AKH)
               MLLG File No.: 105-2018___________________

Dear Judge Hellerstein:

        This firm represents the Defendants in the above-referenced case. The Defendants write
jointly to respectfully request an adjournment of the virtual fairness hearing scheduled for today,
January 12, 2021 at 10:00 AM pursuant to this Court’s Order dated December 3, 2020. See Docket
Entry 84. The reason for this request is because the parties have not yet finalized settlement;
indeed, on December 23, 2020, Defendants wrote to seek an extension of time of thirty (30) days
to submit the settlement documents and this Court granted Defendants’ request on December 28,
2020. See Docket Entries 85-86.

       The parties are working together and have reached agreement in principle on virtually
every issue. Plaintiffs sent Defendants revised documents for review and the parties expect to
meet the Friday, January 22, 2021 deadline to submit the settlement documents to the Court.

        Pursuant to this Court’s Individual Rules (hereinafter “Rules”) ¶ 1(D): (i) the original date
of the hearing is Tuesday, January 12, 2021; (ii-iii) there have been no previous requests for an
adjournment of this conference; (iv) the adversary joins in this application and thus consents; and
(v) Defendants are unaware of any other previously scheduled dates such that a suggested modified
schedule is necessary given the fact that the parties have reached a settlement in principle.

        Defendants thus respectfully submit that sufficient good cause exists for an adjournment
of the conference (see Fed. R. Civ. P. 6(b)(1)(A)) and thank the Court for its time and attention to
this case.
        Case 1:16-cv-04375-AKH Document 88
                                        87 Filed 01/12/21 Page 2 of 2




Dated: Lake Success, New York
       January 12, 2021                  Respectfully submitted,

                                         MILMAN LABUDA LAW GROUP PLLC

                                         _______/s_____________________________
                                         Emanuel Kataev, Esq.
                                         3000 Marcus Avenue, Suite 3W8
                                         Lake Success, NY 11042-1073
                                         (516) 328-8899 (office)
                                         (516) 303-1395 (direct dial)
                                         (516) 328-0082 (facsimile)
                                         emanuel@mllaborlaw.com

cc:   All parties of record – via ECF.
